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                             U nited States D istrict Cou rt
                                        for the
                             Sou thern D istrict ofFlorida

    U nited States of Am erica,
    Plaintiff

                                             Crim inal Case No. 16-20575-CR -
                                             Scola
    Yina M aria C astaneda Benavidez.
    D efendant.




                                    Verdict Form



         W e,the Jury,in the above-captioned case,unanim ously find as follow s:




               As to the sole Cou nt in the Indictm ent,w e find the D efendant Yina

   M aria C astaneda B enavidez:




               G U ILW                  NO T G U ILW




         (Ifyouhnd theDefendantgufltp as to Question 1,proceed to Question 2.
   youfind theDefendantnotguïlfp as to Question 1,do notanswerQuestion 2).
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         2.       W e, the Ju ry in the above-captioned case, having fou nd the

   D efendant,Yina M aria C astaneda Benavidez,guilty,further find the unlaw ful

   plan w as to distribute the follow ing nm ou nt of a m ixture and substance

   containing a detectable am ount of cocaine:

                  (a)     Five Kilogrnm s orM ore
                  (b)     500 Grnm s orm orebutless than FiveKilogrnm s
                         Less Than 50O G ram s




   So Say W e M 1.

         Signed and dated atthe W ilkie D .Ferguson,Jr.FederalCourthouse,M inm i,
   Florida,this         5 day ofO ctober 2019.




    or person's Sign      re                        Foreperson's Juror Num ber
